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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     BECKLEY DIVISION


UNITED STATES OF AMERICA

v.                                                   Criminal Action No. 5:25-CR-00020

KALEE ANN HUFF

                  PROPOSED FINDINGS AND RECOMMENDATION
                 CONCERNING PLEA OF GUILTY IN FELONY CASE

        Pursuant to the Standing Conditional Referral Order entered on February 14, 2024, this

matter has been referred to the undersigned United States Magistrate Judge for purposes of

considering the record, the Information, and the proposed plea agreement in this matter, and

conducting a hearing and entering into the record a written report and recommendation

memorializing the disposition of Defendant’s guilty plea, pursuant to Federal Rule of Criminal

Procedure 11. At a hearing held on February 20, 2025, the Defendant appeared in person and by

counsel, W. Clint Carte, Esq., and the United States appeared by Jonathan T. Storage, Assistant

United States Attorney, for an initial appearance, arraignment, and a plea hearing to an Information

charging the Defendant with violation of 8 U.S.C. § 1325(c). Kiara Carper, Probation Officer,

appeared on behalf of the United States Probation Department.

        The undersigned determined that the Defendant was prepared to enter a plea of “Guilty” to

the Information, that being knowingly entered into a marriage for the purpose of evading the

immigration laws of the United States.

        The undersigned addressed the Defendant personally and through counsel to determine the

competency of the Defendant to proceed, and the undersigned found the Defendant competent.

        The undersigned then proceeded by inquiring of the Defendant’s counsel as to the


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Defendant’s understanding of the right to have an Article III Judge hear the plea and the

Defendant’s willingness to waive that right, and instead have a Magistrate Judge hear the plea.

Thereupon, the undersigned inquired of the Defendant concerning the Defendant’s understanding

of the right to have an Article III Judge hear the entry of the guilty plea and the Defendant’s

understanding of the difference between an Article III Judge and a Magistrate Judge. The

Defendant thereafter stated in open Court that the Defendant voluntarily waived the right to have

an Article III Judge hear the plea and voluntarily consented to the undersigned Magistrate Judge

hearing the plea. Additionally, the Court finds that the written waiver and consent was freely and

voluntarily executed by the Defendant only after having had the rights fully explained to the

Defendant and having a full understanding of those rights through consultation with counsel, as

well as through questioning by the Court. The Court then ORDERED the written Waiver and

Consent to Enter Guilty Plea before a Magistrate Judge filed and made part of the record.

       The undersigned inquired of the Defendant and the Defendant’s counsel as to the

Defendant’s knowledge and understanding of the Defendant’s constitutional right to proceed by

indictment, the voluntariness of the Defendant’s consent to proceed by Information and of the

Defendant’s waiver of the right to proceed by indictment. The Defendant and Defense counsel

verbally acknowledged their understanding and the Defendant, under oath, acknowledged the

Defendant’s voluntary waiver of this right to proceed by indictment and the Defendant’s agreement

to voluntarily proceed by Information. The Defendant also executed a written waiver of the same.

The Court then ORDERED the written Waiver of Indictment filed and made a part of the record.

       The Assistant United States Attorney offered for the Court’s consideration and summarized

the entirety of a written plea agreement signed by both the Defendant and the Defendant’s counsel,

which signatures the Defendant and counsel acknowledged in Court. The Court then ORDERED

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the written Plea Agreement filed and made a part of the record.

       The undersigned inquired of the Defendant, the Defendant’s counsel and counsel for the

United States as to the advantages which accrue to the Defendant and the United States by virtue

of a plea of guilty as opposed to a trial on the merits. The undersigned then reviewed with the

Defendant the statutory penalties applicable to an individual adjudicated guilty of the charge

contained in the Information and the impact of the sentencing guidelines on sentencing in general.

From said review, the undersigned Magistrate Judge determined the Defendant understood the

nature of the charge pending against the Defendant and that the possible statutory maximum

sentence which could be imposed upon the Defendant’s conviction or adjudication of guilty to the

Information was imprisonment for a period of five (5) years, a fine of $250,000.00, and a term

of supervised release of three (3) years. The Defendant also understood that the Court would

impose a total special mandatory assessment of one hundred dollars ($100.00).

       The Court informed the Defendant of the maximum penalties to which the Defendant will

be exposed by virtue of the plea of guilty and the Defendant acknowledged the Defendant’s

understanding of the same. The Defendant stated that the Defendant understood that the matter of

sentencing remains entirely within the discretion of the District Court and that the Defendant

would be bound by the plea and would have no right to withdraw that plea if the sentence imposed

was more severe than the Defendant expected.

       The undersigned also reviewed with the Defendant the waiver of appellate and collateral

attack rights. The Defendant further understood that under the plea agreement, the Defendant was

waiving the right to challenge the conviction and sentence in any post-conviction proceeding,

including any proceeding under 28 U.S.C. § 2255. The Defendant understood, however, that the

Defendant was reserving the right to raise claims of ineffective assistance of counsel. From the


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foregoing, the undersigned determined that the Defendant understood the appellate rights and

knowingly gave up those rights pursuant to the conditions contained in the written Plea Agreement.

       After considering comments by counsel, the undersigned found the Defendant’s decision

to enter a guilty plea to be fair to the interests of both the Defendant and the United States for the

reasons stated in Court. The undersigned then conditionally approved the guilty plea in the interest

of the administration of justice.

       The undersigned next inquired as to the Defendant’s plea to the Information and the

Defendant responded that the Defendant intended to plead guilty. The undersigned explained the

statute under which this action is prosecuted and the elements which the United States would have

had to prove beyond a reasonable doubt had the matter been tried. The Assistant United States

Attorney stated the factual basis establishing that the Defendant committed the offense to which

the Defendant was pleading guilty. The Defendant admitted that the factual basis as stated was

substantially true. The United States and the Defendant further stipulated and agreed that the facts

comprising the offense of conviction included the facts outlined in the “Stipulation of Facts,” a

copy of which is attached as Exhibit B to the Plea Agreement.

       The undersigned further informed the Defendant, per the requirements of Rule 11 of the

Federal Rules of Criminal Procedure of the constitutional rights the Defendant waived by pleading

guilty to the felony count set forth in the Information. The undersigned then determined that the

Defendant understood those rights. The undersigned Magistrate Judge further advised the

Defendant, in accord with Federal Rule of Criminal Procedure 11, in the event the District Judge

rejected the Defendant’s plea of guilty, the Defendant would be permitted to withdraw the plea

and proceed to trial. However, the Defendant was further advised if the District Judge accepted the

plea of guilty, the Defendant would not be permitted to withdraw the guilty plea even if the District


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Judge ordered all monetary penalties (including the special assessment, fine, court costs, and any

restitution that does not exceed the amount set forth in the Plea Agreement) to be due and payable

in full immediately and subject to immediate enforcement by the United States. The Defendant

and the Defendant’s counsel each acknowledged their understanding, and the Defendant

maintained the desire to have the plea of guilty accepted.

        The undersigned asked the Defendant whether any threats or promises had been made to

the Defendant to induce the Defendant to plead, whether any predictions were made regarding the

sentence the Defendant may receive, and whether the Defendant had any second thoughts about

entering a plea of guilty. The Defendant responded in the negative to each question. The Defendant

stated that, in tendering the plea, the Defendant was acting voluntarily and of the Defendant’s own

free will.

        The Defendant’s counsel stated that the Defendant was competent and able to assist counsel

in the defense, that counsel was satisfied that counsel and the Defendant had been afforded

sufficient time to discuss all relevant matters, and that there would likely be no meritorious legal

defense available to the Defendant at trial that defense counsel has not previously raised. The

Defendant’s counsel further stated that counsel felt that Defendant’s constitutional and other rights

had been fully observed at the hearing and all matters leading up to it. The Defendant’s counsel

concurred in the Defendant’s intention to plead guilty to the Information.

        The Defendant, in response to questions from the Court, stated that the Defendant had been

afforded sufficient time to consult with the Defendant’s attorney, that the Defendant had been fully

forthcoming with counsel, that counsel had answered all of the Defendant’s questions, that the

Defendant was satisfied with the quality of counsel’s services, and that the Defendant had no

second thoughts about tendering a plea of guilty. The Defendant then executed a written plea of


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guilty, which counsel witnessed. The Court then ORDERED the written Guilty Plea filed and

made a part of the record.

        Based upon the Defendant’s plea of guilty, as well as the factual admission of guilt, the

undersigned found that there existed a factual and legal basis for the Defendant’s plea of guilty.

Based upon the United States’ proffer of evidence against the Defendant, the Court found that

there also existed an independent factual basis for the Defendant’s plea of guilty. The undersigned

further found that the Defendant tendered the plea of guilty voluntarily and with a full

understanding and awareness of the constitutional and other rights which the Defendant gives up

by pleading guilty, and with an awareness of what the United States would have to prove against

the Defendant if the case went to trial. The undersigned found that the Defendant had an

appreciation of the consequences of the plea. The undersigned then informed the Defendant that

the undersigned would recommend to the District Judge conditional acceptance of the Defendant’s

plea of guilty.

        The Defendant was further advised that even if the District Judge adopted the

recommendation of the undersigned to accept the Defendant’s plea of guilty, the District Judge

will defer final acceptance of the plea and adjudication of guilt pending receipt of the Pre-Sentence

Investigation Report pursuant to United States Sentencing Guidelines §§ 6B1.1(c).

        The undersigned Magistrate Judge further inquired of the Defendant, the Defendant’s

counsel, and the Government as to the non-binding recommendations and stipulations contained

in the written plea agreement and determined that the Defendant understood, with respect to the

plea agreement and to the Defendant’s entry of a plea of guilty to the charge contained in the

Information. The undersigned Magistrate Judge informed the Defendant that the undersigned

would make a written recommendation to the District Judge, and that a pre-sentence investigation


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report would be prepared for the District Court by the Probation Officer. The undersigned advised

the Defendant that the District Judge would adjudicate the Defendant guilty of the charge contained

in the Information. Only after the District Judge had an opportunity to review the pre-sentence

investigation report would the District Judge make a determination as to whether to accept or reject

any recommendation or stipulation contained within the Plea Agreement or pre-sentence report.

The undersigned reiterated to the Defendant that the District Judge may not agree with the

recommendations or stipulations contained in the written agreement. The Defendant and the

Defendant’s counsel each acknowledged their understanding, and Defendant maintained the desire

to have the guilty plea accepted.

       During the hearing, the Court gave notice to the Government’s attorney that pursuant to

the Due Process Protections Act of 2020, the Court reminds counsel that under Brady v. Maryland,

373 U.S. 83 (1963) and its progeny, failing to disclose favorable evidence to the accused violates

due process where the evidence is material either to guilt or punishment. Further, the Court noted

that consequences for a Brady violation can include, but are not necessarily limited to, a vacated

conviction and disciplinary actions against the prosecutor.

       Upon consideration of all of the above, the undersigned Magistrate Judge finds that the

Defendant is fully competent and capable of entering an informed plea; the Defendant is aware of

and understood the right to have an Article III Judge hear and accept the plea and elected to

voluntarily consent to the undersigned United States Magistrate Judge hearing the plea; the

Defendant understood the charge against the Defendant, as contained in the Information; the

Defendant understood the consequences of the plea of guilty, in particular the maximum statutory

penalties to which the Defendant would be exposed for the charge in the Information; the

Defendant made a knowing and voluntary plea of guilty to the Information; and the Defendant’s

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plea is independently supported by the Government’s proffer which provides, beyond a reasonable

doubt, proof of each of the essential elements of the charge to which the Defendant has pled guilty.

        The undersigned Magistrate Judge therefore RECOMMENDS the Defendant’s plea of

guilty to the Information herein be accepted conditioned upon the Court’s receipt and review of

this Proposed Findings and Recommendation.

        The Court ORDERS that the following dates and case events culminating in the Judgment

be scheduled as follows:

  Draft presentence report to the parties                                            04/17/2025
  Parties’ objections to the draft presentence report                                05/01/2025
  Final presentence report to the Court                                              05/15/2025
  Sentencing memoranda (five-page limit) to Court                                    05/22/2025

        The Court scheduled the disposition of this matter for June 12, 2025, at 11:30 a.m. in

Beckley, West Virginia, before the Honorable Chief United States District Court Judge Frank W.

Volk.

        The undersigned Magistrate Judge released the Defendant on bond pending sentencing in

this matter.

                           PROPOSAL AND RECOMMENDATION

        For the reasons set forth above it is hereby respectfully RECOMMENDED that the

District Judge confirm and accept the foregoing findings and recommendation and

CONDITIONALLY ACCEPT the Defendant’s plea of guilty to the single-Count Information.

        The parties are hereby notified that this “Proposed Findings and Recommendation” is

hereby FILED, and a copy will be submitted to the Honorable Chief United States District Court

Judge Frank W. Volk. Any party shall file with the Clerk of the Court specific written objections

identifying the portions of this Proposed Findings and Recommendation to which objection is



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made, and the basis for such objection within seventeen days (fourteen days, filing of objections

and three days, mailing/service) from the date of filing of this Proposed Findings and

Recommendation. A copy of such objections should also be submitted to the presiding United

States District Judge. Failure to file written objections as set forth above shall constitute a waiver

of de novo review by the District Court and a waiver of appellate review by the Circuit Court of

Appeals. Snyder v. Ridenour, 889 F.2d 1363, 1366 (4th Cir. 1989); Thomas v. Arn, 474 U.S. 140,

155, 106 S.Ct. 466, 475, 88 L.Ed.2d 435 (1985); Wright v. Collins, 766 F.2d 841, 846 (4th Cir.

1985); United States v. Schronce, 727 F.2d 91, 94 (4th Cir. 1984) cert. denied, 467 U.S. 1208, 104

S.Ct. 2395, 81 L.Ed.2d 352 (1984).

       The Clerk of the Court is DIRECTED to send a copy of this “Proposed Findings and

Recommendation” to counsel of record, the United States Marshal for the Southern District of

West Virginia, and the Probation Office of this Court.

       ENTER: February 20, 2025.




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